                Case 20-31150-sgj13                       Doc 5          Filed 04/10/20 Entered 04/10/20 16:55:39 Desc Main
                                                       Pay Group:           FT-Fulltime Pay Group          Business Unit: 00001
                Dallas County Hospital Dist.
                5200 Harry Hines Boulevard             Pay Begin Date:
                                                                         Document
                                                                            03/11/2020
                                                                                               Page 1 of 4 Advice #:      000000005792349
                Dallas, TX 75235                       Pay End Date:            03/24/2020                                      Advice Date:      03/31/2020


                                                                                                                                TAX DATA:                      Federal                 TX State
Patrek Chase                               Employee ID:        95951                                                            Marital Status:                 Single                     N/A
2122 Langdon Ave.                          Department:         71050-Transplant Services                                        Allowances:                          0                        0
Dallas, TX 75235                           Location:           Ron J. Anderson Clinic Buildin                                   Addl. Percent:
                                           Job Title:          Director of Programs
                                                                                                                                Addl. Amount:
                                           Pay Rate:           $69.720000 Hourly

                                                  HOURS AND EARNINGS                                                                                      TAXES
                                       ------------------ Current -------------------            ------------ YTD ---------------
Description                            Rate               Hours          Earnings               Hours                Earnings Description                            Current              YTD
Regular                           69.720000                80.00          5,577.60              512.00               35,696.64 Fed Withholdng                         972.59          10,077.08
Holiday                                                                         0.00              24.00               1,673.28 Fed MED/EE                              74.63             737.25
Paid Time Off                                                                   0.00              24.00               1,673.28
Relocation                                                                      0.00                                 14,857.84




TOTAL:                                                     80.00           5,577.60             560.00               53,901.04 TOTAL:                                1,047.22         10,814.33
               BEFORE-TAX DEDUCTIONS                                            AFTER-TAX DEDUCTIONS                                             EMPLOYER PAID BENEFITS
Description                    Current                 YTD     Description                     Current                  YTD     Description                       Current                  YTD
Parkland Employees Health Plan   72.44                507.08   Supplemental Life Insurance        3.35                  23.45   Parkland Employees Health Plan     269.46               1,886.22
PPO Dental                       15.37                107.59   Legal Protection Program           8.42                  58.94   Basic Life Insurance(Er Paid)        5.93                  11.86
Vision                            3.51                 24.57   Pet Insurance                     61.33                 429.27   Basic Life Insurance(Er Paid)*       6.96                  13.92
Retirement Plan - FT            345.81              2,420.67
Health Care Reimbursement         0.00                 10.00




TOTAL:                               437.13         3,069.91 TOTAL:                                      73.10         511.66 *TAXABLE
                             TOTAL GROSS               FED TAXABLE GROSS                            TOTAL TAXES                    TOTAL DEDUCTIONS                                  NET PAY
Current                            5,577.60                        5,147.43                              1,047.22                              510.23                                  4,020.15
YTD                              53,901.04                       50,845.05                              10,814.33                            3,581.57                                 39,505.14
YEAR-TO-DATE              PAID TIME OFF             SICK LEAVE                                                         NET PAY DISTRIBUTION
Start Balance                       18.5                    0.0                                                  Account Type       Account Number                              Deposit Amount
+ Earned                            32.3                    0.0           Advice #000000005792349                Checking                                                               4,020.15
+ Bought                             0.0                    0.0
- Taken                             24.0                    0.0
- Sold                               0.0                    0.0
+ Adjustments                       18.8                    0.0
End Balance                             45.6                    0.0       TOTAL:                                                                                                       4,020.15

MESSAGE:
                Case 20-31150-sgj13                       Doc 5          Filed 04/10/20 Entered 04/10/20 16:55:39 Desc Main
                                                       Pay Group:           FT-Fulltime Pay Group          Business Unit: 00001
                Dallas County Hospital Dist.
                5200 Harry Hines Boulevard             Pay Begin Date:
                                                                         Document
                                                                            02/26/2020
                                                                                               Page 2 of 4 Advice #:      000000005779595
                Dallas, TX 75235                       Pay End Date:            03/10/2020                                      Advice Date:      03/17/2020


                                                                                                                                TAX DATA:                      Federal                 TX State
Patrek Chase                               Employee ID:        95951                                                            Marital Status:                 Single                     N/A
2122 Langdon Ave.                          Department:         71050-Transplant Services                                        Allowances:                          0                        0
Dallas, TX 75235                           Location:           Ron J. Anderson Clinic Buildin                                   Addl. Percent:
                                           Job Title:          Director of Programs
                                                                                                                                Addl. Amount:
                                           Pay Rate:           $69.720000 Hourly

                                                  HOURS AND EARNINGS                                                                                      TAXES
                                       ------------------ Current -------------------            ------------ YTD ---------------
Description                            Rate               Hours          Earnings               Hours                Earnings Description                            Current              YTD
Paid Time Off                     69.720000                24.00          1,673.28                24.00               1,673.28 Fed Withholdng                         972.59           9,104.49
Regular                           69.720000                56.00          3,904.32              432.00               30,119.04 Fed MED/EE                              74.64             662.62
Holiday                                                                         0.00              24.00               1,673.28
Relocation                                                                      0.00                                 14,857.84




TOTAL:                                                     80.00           5,577.60             480.00               48,323.44 TOTAL:                                1,047.23          9,767.11
               BEFORE-TAX DEDUCTIONS                                            AFTER-TAX DEDUCTIONS                                             EMPLOYER PAID BENEFITS
Description                    Current                 YTD     Description                     Current                  YTD     Description                       Current                  YTD
Parkland Employees Health Plan   72.44                434.64   Supplemental Life Insurance        3.35                  20.10   Parkland Employees Health Plan     269.46               1,616.76
PPO Dental                       15.37                 92.22   Legal Protection Program           8.42                  50.52   Basic Life Insurance(Er Paid)        5.93                   5.93
Vision                            3.51                 21.06   Pet Insurance                     61.33                 367.94   Basic Life Insurance(Er Paid)*       6.96                   6.96
Retirement Plan - FT            345.81              2,074.86
Health Care Reimbursement         0.00                 10.00




TOTAL:                               437.13         2,632.78 TOTAL:                                      73.10         438.56 *TAXABLE
                             TOTAL GROSS               FED TAXABLE GROSS                            TOTAL TAXES                    TOTAL DEDUCTIONS                                  NET PAY
Current                            5,577.60                        5,147.43                              1,047.23                              510.23                                  4,020.14
YTD                              48,323.44                       45,697.62                               9,767.11                            3,071.34                                 35,484.99
YEAR-TO-DATE              PAID TIME OFF             SICK LEAVE                                                         NET PAY DISTRIBUTION
Start Balance                       18.5                    0.0                                                  Account Type       Account Number                              Deposit Amount
+ Earned                            26.2                    0.0           Advice #000000005779595                Checking                                                               4,020.14
+ Bought                             0.0                    0.0
- Taken                             24.0                    0.0
- Sold                               0.0                    0.0
+ Adjustments                       18.8                    0.0
End Balance                             39.4                    0.0       TOTAL:                                                                                                       4,020.14

MESSAGE:
              Case 20-31150-sgj13                        Doc 5          Filed 04/10/20 Entered 04/10/20 16:55:39 Desc Main
                                                      Pay Group:           FT-Fulltime Pay Group          Business Unit: 00001
               Dallas County Hospital Dist.
               5200 Harry Hines Boulevard             Pay Begin Date:
                                                                        Document
                                                                           02/12/2020
                                                                                              Page 3 of 4 Advice #:      000000005766861
               Dallas, TX 75235                       Pay End Date:            02/25/2020                                    Advice Date:      03/03/2020


                                                                                                                             TAX DATA:                      Federal                 TX State
Patrek Chase                              Employee ID:        95951                                                          Marital Status:                 Single                     N/A
2122 Langdon Ave.                         Department:         71050-Transplant Services                                      Allowances:                          0                        0
Dallas, TX 75235                          Location:           Ron J. Anderson Clinic Buildin                                 Addl. Percent:
                                          Job Title:          Director of Programs
                                                                                                                             Addl. Amount:
                                          Pay Rate:           $69.720000 Hourly

                                                 HOURS AND EARNINGS                                                                                    TAXES
                                      ------------------ Current -------------------            ------------ YTD ---------------
Description                           Rate               Hours          Earnings               Hours                Earnings Description                          Current              YTD
Regular                          69.720000                80.00          5,577.60              376.00               26,214.72 Fed Withholdng                       970.92           8,131.90
Holiday                                                                        0.00              24.00               1,673.28 Fed MED/EE                            74.54             587.98
Relocation                                                                     0.00                                 14,857.84




TOTAL:                                                    80.00           5,577.60             400.00               42,745.84 TOTAL:                              1,045.46          8,719.88
               BEFORE-TAX DEDUCTIONS                                           AFTER-TAX DEDUCTIONS                                         EMPLOYER PAID BENEFITS
Description                    Current                YTD     Description                     Current                  YTD Description                       Current                    YTD
Parkland Employees Health Plan   72.44               362.20   Supplemental Life Insurance        3.35                  16.75 Parkland Employees Health Plan   269.46                 1,347.30
PPO Dental                       15.37                76.85   Legal Protection Program           8.42                  42.10
Vision                            3.51                17.55   Pet Insurance                     61.33                 306.61
Retirement Plan - FT            345.81             1,729.05
Health Care Reimbursement         0.00                10.00




TOTAL:                              437.13         2,195.65 TOTAL:                                      73.10         365.46 *TAXABLE
                            TOTAL GROSS               FED TAXABLE GROSS                            TOTAL TAXES                   TOTAL DEDUCTIONS                                 NET PAY
Current                           5,577.60                        5,140.47                              1,045.46                             510.23                                 4,021.91
YTD                             42,745.84                       40,550.19                               8,719.88                           2,561.11                                31,464.85
YEAR-TO-DATE             PAID TIME OFF             SICK LEAVE                                                         NET PAY DISTRIBUTION
Start Balance                      18.5                    0.0                                                  Account Type       Account Number                            Deposit Amount
+ Earned                           20.0                    0.0           Advice #000000005766861                Checking                                                             4,021.91
+ Bought                            0.0                    0.0
- Taken                             0.0                    0.0
- Sold                              0.0                    0.0
+ Adjustments                      18.8                    0.0
End Balance                            57.3                    0.0       TOTAL:                                                                                                     4,021.91

MESSAGE:
              Case 20-31150-sgj13                        Doc 5          Filed 04/10/20 Entered 04/10/20 16:55:39 Desc Main
                                                      Pay Group:           FT-Fulltime Pay Group          Business Unit: 00001
               Dallas County Hospital Dist.
               5200 Harry Hines Boulevard             Pay Begin Date:
                                                                        Document
                                                                           01/29/2020
                                                                                              Page 4 of 4 Advice #:      000000005753366
               Dallas, TX 75235                       Pay End Date:            02/11/2020                                    Advice Date:      02/18/2020


                                                                                                                             TAX DATA:                      Federal                 TX State
Patrek Chase                              Employee ID:        95951                                                          Marital Status:                 Single                     N/A
2122 Langdon Ave.                         Department:         71050-Transplant Services                                      Allowances:                          0                        0
Dallas, TX 75235                          Location:           Ron J. Anderson Clinic Buildin                                 Addl. Percent:
                                          Job Title:          Director of Programs
                                                                                                                             Addl. Amount:
                                          Pay Rate:           $69.720000 Hourly

                                                 HOURS AND EARNINGS                                                                                    TAXES
                                      ------------------ Current -------------------            ------------ YTD ---------------
Description                           Rate               Hours          Earnings               Hours                Earnings Description                          Current              YTD
Regular                          69.720000                80.00          5,577.60              296.00               20,637.12 Fed Withholdng                       970.92           7,160.98
Holiday                                                                        0.00              24.00               1,673.28 Fed MED/EE                            74.54             513.44
Relocation                                                                     0.00                                 14,857.84




TOTAL:                                                    80.00           5,577.60             320.00               37,168.24 TOTAL:                              1,045.46          7,674.42
               BEFORE-TAX DEDUCTIONS                                           AFTER-TAX DEDUCTIONS                                         EMPLOYER PAID BENEFITS
Description                    Current                YTD     Description                     Current                  YTD Description                       Current                    YTD
Parkland Employees Health Plan   72.44               289.76   Supplemental Life Insurance        3.35                  13.40 Parkland Employees Health Plan   269.46                 1,077.84
PPO Dental                       15.37                61.48   Legal Protection Program           8.42                  33.68
Vision                            3.51                14.04   Pet Insurance                     61.32                 245.28
Retirement Plan - FT            345.81             1,383.24
Health Care Reimbursement         0.00                10.00




TOTAL:                              437.13         1,758.52 TOTAL:                                      73.09         292.36 *TAXABLE
                            TOTAL GROSS               FED TAXABLE GROSS                            TOTAL TAXES                   TOTAL DEDUCTIONS                                 NET PAY
Current                           5,577.60                        5,140.47                              1,045.46                             510.22                                 4,021.92
YTD                             37,168.24                       35,409.72                               7,674.42                           2,050.88                                27,442.94
YEAR-TO-DATE             PAID TIME OFF             SICK LEAVE                                                         NET PAY DISTRIBUTION
Start Balance                      18.5                    0.0                                                  Account Type       Account Number                            Deposit Amount
+ Earned                           13.9                    0.0           Advice #000000005753366                Checking                                                             4,021.92
+ Bought                            0.0                    0.0
- Taken                             0.0                    0.0
- Sold                              0.0                    0.0
+ Adjustments                       0.0                    0.0
End Balance                            32.4                    0.0       TOTAL:                                                                                                     4,021.92

MESSAGE:
